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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

  Civil Action No.:

  CARL HUBBARD,

                 Plaintiff,

  v.

  NATIONAL ASSET RECOVERY SERVICES, INC., a Missouri corporation,

                Defendant.


                                 COMPLAINT AND JURY DEMAND


                                           JURISDICTION

  1.     Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d).

  2.     This action arises out of the Defendant’s violation of the Fair Debt Collection

         Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter the “FDCPA”).

                                               VENUE

  3.     Venue is proper in this Judicial District.

  4.     The acts and transactions alleged herein occurred in this Judicial District.

  5.     The Plaintiff resides in this Judicial District.

  6.     The Defendant transacts business in this Judicial District.

                                              PARTIES

  7.     Plaintiff Carl Hubbard is a natural person.

  8.     The Plaintiff resides in the City of Denver, County of Denver, State of Colorado.
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  9.    The Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).

  10.   The Plaintiff is a “any person” as that term is used in 15 U.S.C. § 1692d preface.

  11.   Defendant National Asset Recovery Services, Inc., is a Missouri corporation

        operating from an address at 16253 Swingley Ridge Road, Suite 300, Chesterfield,

        Missouri 63017.

  12.   The Defendant’s registered agent in the state of Colorado is Colorado Manager,

        Inc., 80 Garden Center, Suite 3, Broomfield, Colorado 80020.

  13.   The Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

  14.   The Defendant is licensed as a collection agency by the state of Colorado.

  15.   The principal purpose of the Defendant is the collection of debts using the mails

        and telephone.

  16.   The Defendant regularly attempts to collect debts alleged to be due another.

  17.   The Defendant regularly collects or attempts to collect, directly or indirectly, debts

        owed or due or asserted to be owed or due another that arose out of transactions in

        which the money, property or services which are the subject of the transactions are

        primarily for personal, family or household purposes.

                                FACTUAL ALLEGATIONS

  18.   Sometime before 2010 the Plaintiff allegedly incurred a financial obligation that

        was primarily for personal, family or household purposes namely an amount due

        and owing on personal account (hereinafter the “Account”).

  19.   The Account constitutes a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

  20.   The Account went into default.



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  21.   After the Account went into default the Account was placed or otherwise

        transferred to the Defendant for collection.

  22.   The Plaintiff disputes the Account.

  23.   The Plaintiff requests that the Defendant cease all further communication on the

        Account.

  24.   The Defendant’s collector(s) were employee(s) of the Defendant at all times

        mentioned herein.

  25.   The Defendant acted at all times mentioned herein through its employee(s).

  26.   In the year prior to the filing of the instant action the Defendant and / or

        representative(s), employee(s) and / or agent(s) of the Defendant placed

        telephone call(s) to the Plaintiff.

  27.   In the year prior to the filing of the instant action the Plaintiff called the Defendant

        and / or representative(s), employee(s) and / or agent(s) of the Defendant in

        response to the telephone call(s).

  28.   The Defendant’s purpose for these telephone call(s) was to attempt to collect the

        Account.

  29.   The telephone call(s) each individually conveyed information regarding the

        Account directly or indirectly to the Plaintiff.

  30.   The telephone call(s) each individually constituted a “communication” as defined

        by FDCPA § 1692a(2).




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  31.   The only reason that the Defendant and / or representative(s), employee(s) and /

        or agent(s) of the Defendant made telephone call(s) to the Plaintiff was to

        attempt to collect the Account.

  32.   The only reason that the Defendant and / or representative(s), employee(s) and /

        or agent(s) of the Defendant had telephone conversation(s) with the Plaintiff was

        to attempt to collect the Account.

  33.   The only reason that the Defendant and / or representative(s), employee(s) and /

        or agent(s) of the Defendant received telephone call(s) from the Plaintiff was to

        attempt to collect the Account.

  34.   During the communication(s) the Defendant and / or representative(s),

        employee(s) and / or agent(s) of the Defendant attempting to collect the Account

        represented to the Plaintiff that paying the Account is the only way to get the

        Account off of the credit bureau reports and that the Account will be reported to

        the credit bureaus until it is paid.

  35.   The representations stated in paragraph 34 were false and were false

        representations in connection with the collection of a debt, the Account.

  36.   During the communication(s) the Defendant and / or representative(s),

        employee(s) and / or agent(s) of the Defendant attempting to collect the Account

        represented to the Plaintiff that his dispute of the Account had to be in writing.

  37.   The representation stated in paragraph 36 was false and was a false

        representation in connection with the collection of a debt, the Account.




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  38.   Upon information and belief the Defendant kept written documentation and / or

        computer record(s) that document telephone call(s) to the Plaintiff on the Account

        in the year prior to the filing of the instant action.

  39.   Upon information and belief the Defendant kept written documentation and / or

        computer record(s) that document telephone call(s) from the Plaintiff to the

        Defendant on the Account in the year prior to the filing of the instant action.

  40.   Upon information and belief the Defendant made audio recording(s) of some of

        its telephone call(s) / conversation(s) with the Plaintiff in the year prior to the filing

        of the instant action.

  41.   Upon information and belief the Defendant made audio recording(s) of all of its

        telephone call(s) / conversation(s) with the Plaintiff in the year prior to the filing of

        the instant action.

  42.   Upon information and belief the Defendant has a copy or copies of the audio

        recording(s) of some of its telephone call(s) / conversation(s) with the Plaintiff in

        the year prior to the filing of the instant action.

  43.   Upon information and belief the Defendant has a copy or copies of the

        audio recording(s) of all of its telephone call(s) / conversation(s) with the Plaintiff

        in the year prior to the filing of the instant action.

  44.   Upon information and belief in the time between when it received this Complaint

        and Jury Demand and when a Answer to this Complaint and Jury Demand was

        filed on its behalf with the Court the Defendant made an inquiry and/or

        investigation as to whether it had any audio recording(s) of any telephone



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        conversation(s) between the Defendant and the Plaintiff and/or any voicemail

        message(s) left for the Plaintiff by the Defendant.

  45.   Upon information and belief the Defendant sent copy(s) of any audio recording(s)

        that it had of telephone conversation(s) between the Defendant and the Plaintiff

        and/or any voicemail message(s) left for the Plaintiff by the Defendant to the

        attorney and/or the law firm who employs the attorney who is filing the Answer to

        this Complaint and Jury Demand on behalf of the Defendant.

  46.   Upon information and belief the Defendant’s copies of the audio recording(s) of

        its telephone call(s) / conversation(s) with the Plaintiff in the year prior to the filing

        of the instant action substantiate the Plaintiff’s allegations in this action.

  47.   The Defendant and its representative(s), employee(s) and / or agent(s)

        statement(s) and action(s) constitute false or misleading representation(s) or

        mean(s) and violate FDCPA 1692e preface, e(2)(A), e(8) and e(10).

  48.   The Defendant and its representative(s), employee(s) and / or agent(s)

        statement(s) and action(s) constitute unfair or unconscionable means to collect

        or attempt to collect a debt and violate FDCPA 1692f preface.

  49.   The FDCPA is a “strict liability statute,” and Plaintiff need only “show one

        violation of its provisions to be entitled to judgment in her favor.” Ellis v. Cohen &

        Slamowitz, LLP, 701 F.Supp. 2d 215, 219 (N.D.N.Y. 2010). Also see Doshay v.

        Global Credit and Collection Corporation, ---F.Supp. ---, 2011 WL 2669164, page

        4 (D.Colo. July 7, 2011) for the same holding.




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  50.    As a consequence of the Defendant’s collection activities and

         communication(s), the Plaintiff seeks damages pursuant to FDCPA

         1692k(a).

                                     RESPONDEAT SUPERIOR

  51.    The representative(s) and / or collector(s) at the Defendant were employee(s) of

         the Defendant at all times mentioned herein.

  52.    The representative(s) and / or collector(s) at the Defendant were agent(s) of the

         Defendant at all times mentioned herein.

  53.    The representative(s) and / or collector(s) at the Defendant were acting within the

         course of their employment at all times mentioned herein.

  54.    The representative(s) and / or collector(s) at the Defendant were acting within the

         scope of their employment at all times mentioned herein.

  55.    The representative(s) and / or collector(s) at the Defendant were under the direct

         supervision of the Defendant at all times mentioned herein.

  56.    The representative(s) and / or collector(s) at the Defendant were under the direct

         control of the Defendant at all times mentioned herein.

  57.    The actions of the representative(s) and / or collector(s) at the Defendant are

         imputed to their employer, the Defendant.

  58.    As a direct and proximate result of the aforesaid actions, the Plaintiff seeks

         damages pursuant to FDCPA 1692k(a).

                                 COUNT I, FDCPA VIOLATION

  59.   The previous paragraphs are incorporated into this Count as if set forth in full.



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  60.   The act(s) and omission(s) of the Defendant and its representative(s),

         employee(s) and / or agent(s) violated the FDCPA, § 1692e preface, e(2)(A),

         e(8), e(10) and § 1692f preface.

  61.   Pursuant to FDCPA section 1692k the Plaintiff seeks damages, reasonable

        attorney's fees and costs.



                                 JURY TRIAL DEMAND

  The Plaintiff is entitled to and hereby demands a trial by jury. U.S. Const. amend. 7.,

  Fed. R. Civ. Pro. 38.

                                            PRAYER

  WHEREFORE, the Plaintiff prays that the Court grants the following:

  1.    A finding that the Defendant violated the FDCPA and/or an admission from the

        Defendant that it violated the FDCPA.

  2.    Damages pursuant to 15 U.S.C. § 1692k(a).

  3.    Reasonable attorneys fees and costs pursuant to 15 U.S.C. § 1692k(a)(3).

  4.    Such other and further relief as the Court deems just and proper.

                                            Respectfully submitted,

                                            _s/ David M. Larson        ________
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